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                                                  #:55848



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                               UNITED STATES DISTRICT COURT
             9       CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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                 MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS
           11                                                (JDEx)
                 a Delaware corporation; and
           12    CERCACOR LABORATORIES, INC.,                [PROPOSED] ORDER
                 a Delaware corporation,                     GRANTING APPLE’S MOTION
           13                                                TO BAR PLAINTIFFS FROM
                                    Plaintiffs,              RAISING OFFENSIVE
           14                                                COLLATERAL ESTOPPEL
           15          v.
                                                            Date: August 22, 2022
           16    APPLE INC.,                                Time: 1:30 p.m.
           17    a California corporation,
                                                            Discovery Cut-Off: August 12, 2022
           18                       Defendant.              Pre-Trial Conference: March 13, 2023
                                                            Trial: March 28, 2023
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           28    [PROPOSED] ORDER GRANTING APPLE’S MOT. TO BAR PLAINTIFFS FROM RAISING OFFENSIVE
                 COLLATERAL ESTOPPEL
Wilmer Cutler
Pickering Hale                                                     Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 852-23 Filed 07/22/22 Page 2 of 2 Page ID
                                                  #:55849



             1         This matter is before the Court pursuant to Defendant Apple Inc.’s Motion to
             2   Bar Plaintiffs From Raising Offensive Collateral Estoppel.
             3         Having considered the briefing, supporting documents, and all other matters
             4   properly before the Court, being fully advised on the proceedings, and for good cause
             5   appearing:
             6         IT IS HEREBY ORDERED THAT Apple’s Motion is GRANTED. Plaintiffs
             7   have forfeited their collateral estoppel argument by failing to provide Apple with
             8   sufficient notice. In addition, the record is sufficiently clear to establish that
             9   Plaintiffs cannot establish “control” (and thus preclusion) as a matter of law.
           10          IT IS SO ORDERED.
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           12    Dated: _________________________
                                                        The Hon. James V. Selna
           13                                           United States District Court Judge
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           28    [PROPOSED] ORDER GRANTING APPLE’S MOT. TO BAR PLAINTIFFS FROM RAISING OFFENSIVE
                 COLLATERAL ESTOPPEL.
Wilmer Cutler
Pickering Hale                                           1         Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
